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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

In re:
                                                                          Bky. No. 10-40097-RJK
NEXT GENERATION MEDIA, INC.,                                                     Chapter 11 Case
          Debtor.



                      MEMORANDUM OF LAW IN SUPPORT OF
                 ADVANCED DUPLICATION SERVICES, LLC’S MOTION
                     FOR RELIEF FROM THE AUTOMATIC STAY

                Advanced Duplication Services, LLC (“ADS” or “Movant”), by and through its

undersigned counsel, respectfully submits this memorandum of law in support of its motion

(“Motion”) for relief from the automatic stay, for cause, pursuant to 11 U.S.C. § 362(d)(1), in

order to permit ADS to proceed against Next Generation Media, Inc. (the “Debtor”) in a

Minnesota state court action (the “State Action”) for the limited purpose of liquidating ADS’

claim against the Debtor in the above-captioned Chapter 11 bankruptcy.

                                  PRELIMINARY STATEMENT

                Nearly two years ago, ADS commenced the State Action against the Debtor and

two individual co-defendants (collectively, the “Co-Defendants”) in Minnesota state court to

recover compensatory and exemplary damages, as well as costs and attorneys’ fees sustained by

ADS, and to obtain temporary and permanent injunctive relief against the Debtor and Co-

Defendants on account of their willful and malicious misappropriation of ADS’ trade secrets and

the Co-Defendants’ breaches of their common law duties in violation of the laws of the State of

Minnesota. After the entry of a temporary injunction in favor of ADS, the completion of

extensive discovery and the denial of the Debtor’s and Co-Defendants’ motion for summary

judgment, the Honorable Janet N. Poston of the Hennepin County District Court issued a Trial



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Order scheduling the State Action for a date certain trial to begin on March 29, 2010. Less than

three months prior to trial, the Debtor filed for relief under Chapter 11 of the United States Code,

11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), which automatically stayed the State Action

against the Debtor. Thereafter, based on its allegations in the State Action, ADS filed a proof of

claim in this proceeding.

                Although the bankruptcy filing automatically stays the State Action as to the

Debtor, it does not insulate the Debtor from having to submit to litigation in order to liquidate

ADS’ claim; at best the Debtor’s bankruptcy filing only delays it. Under the circumstances

presented here, ADS meets the balancing-of-the-hardship standard applied in the Eighth Circuit

to justify the lift of the automatic stay for “cause,” pursuant to section 362(d)(1) of the

Bankruptcy Code. Moreover, each of the factors used to balance the potential prejudice to the

Debtor, the bankruptcy estate and the other creditors if the claim were to be liquidated in the

State Action against the hardship to the moving party if the State Action against the Debtor

continued to be stayed weighs heavily in favor of ADS. In fact, the factors of judicial economy,

trial readiness and the likelihood of ADS’ success on the merits all heavily weigh in favor of

lifting the stay for the limited purpose of liquidating ADS’ claim.

                                               FACTS

                The facts supporting the relief requested are set forth in the verified Motion and

the exhibits attached thereto accompanying this memorandum of law.




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                                            ARGUMENT

                         THE COURT SHOULD GRANT RELIEF FROM THE
                         AUTOMATIC STAY TO ALLOW ADS TO PROCEED
                          AGAINST THE DEBTOR IN THE STATE ACTION

                    A.     Standard for Granting Relief From the Automatic Stay

                Section 362(d)(1) of the Bankruptcy Code provides that the Bankruptcy Court

may grant relief from the automatic stay for cause. In re Wiley (Wiley v. Hartzler), 288 B.R.

818, 822 (B.A.P. 8th Cir. 2003) (Kressel, J.); In re Blan (Blan v. Nachogdoches County

Hospital), 237 B.R. 737, 739 (B.A.P. 8th Cir. 1999); see also In re Loudon (Loudon v. Amogio

Foods, Inc.), 284 B.R.106, 108 (B.A.P. 8th Cir. 2002). Specifically, section 362(d)(1) provides

in relevant part:

                On request of a party in interest and after notice and a hearing, the
                court shall grant relief from the stay provided under subsection (a)
                of this section, such as by terminating, annulling, modifying, or
                conditioning such a stay -
                (1) for cause …

11 U.S.C. § 362(d)(1).

                While the Bankruptcy Code does not define “cause,” the United States Congress

“intended that the automatic stay could be lifted to allow litigation involving the debtor to

continue in a nonbankruptcy forum under certain circumstances.” In re Blan, 237 B.R. at 739

(quoting H.R.Rep No. 95-595, at 341 (1977); S.Rep. No. 95-989, at 50 (1978)). In fact, the

legislative history of section 362(d)(1) emphasizes that a single factor, such as allowing a

proceeding to advance before the tribunal it was commenced, can constitute the requisite

“cause.” “It will often be more appropriate to permit proceedings to continue in their place of

origin, when no great prejudice to the bankruptcy estate would result, in order to leave the parties

to their chosen forum and to relieve the bankruptcy court from duties that may be handled




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elsewhere.” In re Blan, 237 B.R. at 739 (quoting S.Rep. No. 95-989, at 50 (1978)); see also In

re Wiley, 288 B.R. at 822; In re Loudon, 284 B.R. at 108.

                “In making a determination of whether to grant relief from the stay, the court

must balance the potential prejudice to the Debtor to the bankruptcy estate, and to the other

creditors against the hardship to the moving party if it is not allowed to proceed in state court.”

In re Blan, 237 B.R. at 739. The Eighth Circuit has identified the following five factors that

bankruptcy courts are to consider in conducting a balance of the hardship determination: (1)

judicial economy; (2) trial readiness; (3) the resolution of preliminary bankruptcy issues; (4) the

creditor’s chance of success on the merits; and (5) the cost of defense or other potential burden to

the bankruptcy estate and the impact of the litigation on other creditors. In re Wiley, 288 B.R. at

821; In re Loudon, 284 B.R. at 108; In re Blan, 237 B.R. at 739. Bankruptcy courts in the Eighth

Circuit regularly grant relief from the automatic stay to allow litigation involving a debtor to

continue in a non-bankruptcy forum in cases where these factors weigh in favor of the moving

party. See id.; see also In re McNew, No. 4:00-BK-45393, 2002 WL 32114482, at *4 (July 1,

2002 Bankr. E.D. Ark.); In re Schaefer, Bankr. No. 03-04001M, 2004 WL 2714380, at *3 (Nov.

22, 2004 Bankr. N.D. Iowa).

              B.    Relief From The Automatic Stay Should Be Granted Because
                   ADS’ Hardship Outweighs Any Prejudice To The Debtor,
                    The Bankruptcy Estate And To The Other Creditors

                ADS’ hardship clearly outweighs any potential prejudice to the Debtor, the

bankruptcy estate and to the other creditors if ADS is not allowed to proceed against the Debtor

in the State Action. Although it is not necessary that each of the five factors be in favor of the

movant before the automatic stay is lifted, in the case at hand, all of the factors weigh heavily in

favor of granting the relief requested by ADS. See In re McNew, 2002 WL 32114481, at *2.




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    1.   Judicial Economy strongly favors relief from stay

                The judicial economy factor strongly favors granting ADS’ Motion. ADS’

$31,781,742.30 proof of claim is based on the allegations set forth against the Debtor in the State

Action. (PROOF OF CLAIM)1 The State Action was commenced nearly two years ago. The

claims against the Debtor in the State Action are solely based on the violation of the Minnesota

Uniform Trade Secret Act codified in the Minnesota state statute §§ 325C.01-08 (collectively,

“MUTSA”). (AMENDED COMPLAINT) The Parties have also engaged in and completed

extensive factual and expert discovery in the State Action comprising of the exchange of over

125,000 pages of physical and electronically stored documents, court ordered inspection,

imaging, and retention of the Debtor’s computer network as well as the Co-Defendants’ business

and personal computers, twelve depositions, responses to expert interrogatories, and the

exchange of expert reports as well as multiple non-party subpoenas. Judge Poston, who has

presided over the State Action since its commencement, is familiar with the Minnesota state

statutes and laws that are the sole basis for ADS’ claim against the Debtor. The State Court

judge is also familiar with the extensive and complex factual record and is fully versed in the

issues between the parties. Indeed, Judge Poston has held multiple telephone hearings to resolve

discovery disputes and has considered, heard oral arguments, and ruled upon ADS’ motion for a

temporary injunction, the Debtor’s and Co-Defendants’ motion for summary judgment, and the

Debtor’s and co-defendants’ motion to compel discovery. (TRO Order and SJ Memorandum)



1
         See Claim No. 4 and attachments thereto, filed in this case. Movant has appended the
         cited State Action pleadings to its motion, and requests the Court to take judicial notice of
         them as well as the pleadings and claims in this bankruptcy case. Specific page citations
         to the motion appendix are contained in the motion.




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Moreover, congressional policy clearly gives state law claimants a right to have claims heard in

state court. See 28 U.S.C. 1334(c). Accordingly, judicial economy dictates that the claim

against the Debtor be litigated in the State Action before Judge Poston.

                Furthermore, the alternative of litigating ADS’ claim against the Debtor at a later

 date before the bankruptcy court – that is unfamiliar with the State Action – is clearly

 inconsistent with the dictates of judicial economy. The litigation of ADS’ claim against the

 Debtor before the bankruptcy court at a later date will require a virtual re-litigation of the State

 Action against the Co-Defendants. This will force ADS to try its case twice, once in the

 Minnesota state court against the Co-Defendants and a second time in bankruptcy court against

 the Debtor. This will cause significant and unnecessary hardship to ADS because of the

 substantial duplication of efforts and additional costs that will be incurred by two trials. Indeed,

 the claims against the Debtor and the Co-Defendants flow out of the exact same set of facts and

 evidence. The two trials, therefore, will likely be carbon-copies of each other.

                Moreover, the magnitude of the hardship ADS would suffer from the duplication

 of efforts and the additional costs is highlighted by the Joint Statement of the Case (“Joint

 Statement”) filed by the parties in the State Action on March 2, 2009. In the Joint Statement,

 the parties estimated that the trial in the State Action would take ten days and identified forty-

 six potential fact and expert witnesses that may be called to testify. (JOINT STATEMENT)

 The Eighth Circuit has specifically held that such a duplication of efforts and the resulting

 additional costs should weigh heavily in favor of granting relief from the automatic stay to

 allow litigation involving a debtor to continue in a non-bankruptcy forum. See In re Blan, 237

 B.R. at 740.




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                Accordingly, relief from the automatic stay to allow the State Action to proceed

 against the Debtor before Judge Poston will ensure judicial economy and the most efficient and

 expeditious litigation and liquidation of ADS’ claim. At the same time, the granting of such

 relief will also “relieve the bankruptcy court from duties that may be handled elsewhere.” In re

 Wiley, 288 B.R. at 822.

 2.     The State Action Is Scheduled For Trial In Two Months

                Given the advanced stage that the State Action reached before the Debtor filed for

relief under Chapter 11 of the Bankruptcy Code, the “trial readiness” factor unquestionably

weighs in favor of ADS. Discovery in the State Action was completed on February 16, 2009 and

Judge Poston denied the Debtor’s and Co-Defendants’ summary judgment motion on September

24, 2009. The only thing that remains to be done in the State Action is to try the case, and on

November 2, 2009, Judge Poston entered a Trial Order setting the State Action for a “date

certain jury trial to begin on Monday, March 29, 2010 at 9:30 a.m.” (TRIAL ORDER)

Based on the parties’ Joint Statement, Judge Poston has reserved a two week block of time for

the trial. Following nearly sixteen months of litigation, the parties were poised for trial when the

Debtor filed for bankruptcy protection. In fact, regardless of whether ADS is allowed to proceed

against the Debtor, the trial of the State Action will commence on March 29, 2010 against the

Co-Defendants. Therefore, it would be a waste of the resources of the litigants and this Court to

discard the already significant time, energy and money that brought the State Action to the eve of

trial without proceeding against the Debtor in the State Action as well.




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 3.     There Are No Preliminary Bankruptcy Issues To Resolve

                The State Action does not involve any preliminary bankruptcy issues that need to

be resolved prior to the start of trial on March 29, 2010. Thus, this factor also weighs in favor of

lifting the stay.

 4.     ADS Has A High Likelihood Of Success On The Merits Of Its Claim

                ADS also has a high likelihood of success on the merits of its claim against the

Debtor as well. The “likelihood” that ADS will prevail on the merits has been solidified at every

stage of the State Action. On June 12, 2008, Judge Poston issued a Finding of Fact, Conclusion

of Law and Order Granting Plaintiff’s Motion for a Temporary Injunction in which she found

that “the evidence in the record demonstrated some likelihood of success on the merits of

Plaintiff’s claim of misappropriation of trade secrets.” (TRO ORDER)

                After the entry of the temporary injunction, the Parties engaged in nearly eight

months of intense discovery. The evidence uncovered during the discovery period

overwhelmingly supports Judge Poston’s initial finding that the Debtor and Co-Defendants

willfully and maliciously misappropriated ADS’ trade secrets and is reflected in Judge Poston’s

September 24, 2009 twenty-six page written opinion denying the Debtor’s and Co-Defendants’

Motion for Summary Judgment. Specifically, Judge Poston held that ADS submitted evidence

that the Debtor and Co-Defendants misappropriated ADS’ trade secrets in violation of MUTSA.

(SJ Memorandum at pp 16-21) Moreover, Judge Poston held that ADS “presented evidence

that it lost profits and sales, and that [the Debtor and co-defendants] have been unjustly enriched

by their alleged misappropriation.” (SJ Memorandum at 21)




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 5.     Relief From The Automatic Stay Places No Additional Costs
        Or Other Potential Burden On The Debtor Or The Bankruptcy
        Estate, Nor Does It Impact The Other Creditors

                On January 22, 2010, ADS filed its proof of claim for $31,781,742.30 in

connection with its claims against the Debtor arising from the allegations in the State Action.

(Proof of Claim) ADS’ proof of claim, unless accepted, will have to be litigated at some point

in time so that the amount of damages can be liquidated. Indeed, the Eighth Circuit has held,

“[t]he mere filing of a petition in bankruptcy cannot, in itself, erase a plaintiff’s claim, its

opportunity to litigate, or the fact that the debtor may be liable to the plaintiff in some amount.”

In re Wiley, 288 B.R. at 822.

                Accordingly, ADS’ request for relief from the automatic stay so it may liquidate

its claim in the State Action does not place any additional costs or burden upon the Debtor or the

bankruptcy estate that it will not otherwise have to incur at a later date in the bankruptcy court.

Indeed, as set forth above, because Judge Poston is familiar with the applicable state statutes and

laws, the extensive and complex factual record and the issues between the parties, the State

Action will provide the most efficient, expeditious and most likely the least expensive means to

litigate ADS’ claim against the Debtor. The alternative of re-litigating the claim against the

Debtor at a later date before a bankruptcy court that may be less familiar with the applicable state

statutes and laws, the extensive and complex factual record and the issues between the parties

will undoubtedly result in only increased costs to the Debtor, the bankruptcy estate and the other

creditors.

                Even if it was found that the cost of defending the Debtor in the State Action

would be a burden, “[t]he mere cost of defense . . . is ordinarily considered an insufficient basis

for denying relief from stay.” In re Wiley, 288 B.R. at 823. Furthermore, any potential burden to




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the Debtor or the bankruptcy estate, is “substantially reduced” by the fact that ADS has limited

the relief it has requested to only liquidating its claim against the Debtor in the State Action but

not granting relief from the stay for ADS to enforce any judgment obtained in the State Action

against the Debtor. See In re Loudon, 284 B.R. at 108.

                As for the impact on the other creditors, to date, ADS’ claim is the largest

unsecured claim filed in this bankruptcy and will have to be litigated in order for the Debtor to be

able to formulate and propose a re-organization plan. In fact, the Chapter 11 case cannot

substantially be advanced without the resolution of ADS’ claim. Accordingly, an efficient,

expeditious and most likely least expensive means to liquidate ADS’ claim through the State

Action will only benefit the other creditors, the Debtor and the bankruptcy estate in resolving this

significant claim quickly in order to formulate and propose a re-organization plan; or, convert or

dismiss the Debtor’s Chapter 11 case as soon as possible.

                                          CONCLUSION

                For the reasons set forth in the accompanying Motion and this memorandum of

law, Advanced Duplication Services, LLC respectfully requests that the Court enter an order (a

form of which accompanies the Motion), pursuant to section 362(d)(1) of the Bankruptcy Code,

granting ADS relief from the automatic stay to permit it to proceed against the Debtor in the

State Action for the limited purpose of liquidating ADS’ claim against the Debtor in the above-

captioned Chapter 11 bankruptcy.

Dated: February 3, 2010.




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                                      /e/ Kurt M. Anderson
                                     Kurt M. Anderson # 2148
                                     Attorneys for Advanced Duplication Services LLC
                                     P.O. Box 2434
                                     Minneapolis, Minnesota 55402-0434
                                     (612) 333-3185


                                     George Warner, Jr., Esq. (#222719)
                                     BERNICK, LIFSON, GREENSTEIN,
                                     GREENE & LISZT, P.A.
                                     Attorneys for Advanced Duplication Services, LLC
                                     5500 Wayzata Boulevard
                                     Suite 1200, The Colonnade
                                     Minneapolis, MN 55416
                                     Telephone: (763) 546-1200

                                     Of Counsel (Pro hac vice application in process):
                                     KELLEY DRYE & WARREN LLP
                                     Robert Steiner, Esq.
                                     Martin Krolewski, Esq.
                                     101 Park Avenue
                                     New York NY 10178
                                     (212) 808-7800




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                               Declaration of Service via e-Notice

Kurt M. Anderson respectfully states that to the best of his knowledge, all parties entitled to
service of the enclosed or concurrently filed:

NOTICE OF HEARING AND MOTION OF ADVANCED DUPLICATION SERVICES, LLC
       FOR RELIEF FROM THE AUTOMATIC STAY (with appendix)
MEMORANDUM OF LAW
Proposed ORDER
This proof of service


will receive electronic e-mailed notice of filing, with a link to the copy thereof, from the court’s
CM/ECF server,

EXCEPT that the Debtor and certain other parties may be served by mail, as will be indicated in
a separate declaration of service by mail.


       February 3, 2010                               /e/ Kurt M. Anderson
Case 10-40097        Doc 32-1     Filed 02/03/10 Entered 02/03/10 18:23:10           Desc Part 2
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

In re:
                                                                          Bky. No. 10-40097-RJK
NEXT GENERATION MEDIA, INC.,                                                     Chapter 11 Case
          Debtor.


          ORDER GRANTING LIMITED RELIEF FROM STAY TO ADVANCED
                       DUPLICATION SERVICES, LLC


         This case came before the court on the motion of Advanced Duplication Services, LLC

seeking relief from the automatic stay. Based on the motion and supporting papers filed on

February 3, 2010 by Advanced Duplication Services, LLC:

         IT IS ORDERED:

         (1)    The motion is granted in its entirety;

         (2)    Advanced Duplication Services, LLC is authorized to litigate its claims against

                the debtor in the Hennepin County, Minnesota, District Court litigation entitled

                Advanced Duplication Services, LLC, a Delaware limited liability company,

                Plaintiff v. Next Generation Media, Inc., Scott Suedbeck, Dennis Henrich, and
                John or Jane Does, Court File No. 27-CV-08-12904;

         (3)    Advanced Duplication Services, LLC may obtain final judgment against the

                debtor in the state litigation but may not engage in post-judgment collection

                efforts without further order of this court; and

         (4)    Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this order is effective immediately.

Dated


                                               Robert J. Kressel
                                               United States Bankruptcy Judge
